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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

JOHN DOE,

                    Plaintiff,

v.                                                   Case No. 6:16-cv-2232-Orl-37KRS

ROLLINS COLLEGE; JESSICA
NARDUCCI; ORIANA JIMINEZ;
KEN MILLER; REBECCA DECESARE;
and MEGHAN HARTE WEYANT,

                    Defendant.


                                        ORDER

       This cause is before the Court on its own initial review of Plaintiff’s Complaint

(Doc. 1), filed December 28, 2016. Upon review, the Court finds that the Complaint is

due to be dismissed as an impermissible shotgun pleading.

                                 LEGAL STANDARDS

       A shotgun complaint “contains several counts, each one incorporating by

reference the allegations of its predecessors, leading to a situation where most of the

counts . . . contain irrelevant factual allegations and legal conclusions.” Strategic

Income Fund, LLC v. Spear, Leeds & Kellogg Corp., 305 F.3d 1293, 1295

(11th Cir. 2002). The Court is therefore faced with the onerous task of sifting out

irrelevancies in order to determine which facts are relevant to which causes of action.

See id. Such shotgun pleadings are “altogether unacceptable,” and it is the Court’s

obligation to force Plaintiff to replead. Cramer v. Florida, 117 F.3d 1258, 1263

(11th Cir. 1997).
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                                       DISCUSSION

       Here, John Doe has named six Defendants—Rollins College (“Rollins”), Jessica

Narducci (“JN”), Oriana Jiminez (“OJ”), Ken Miller (“KM”), Rebecca Decesare (“RD”),

and Meghan Harte Weyant (“MW”)—in its seven count Complaint; however, he did not

specify which Defendant is named in which of the seven counts. (See Doc. 1.) Further,

each count improperly “repeats and realleges each and every allegation hereinabove as

if fully set forth herein.” (See id. ¶¶ 109, 125, 138, 144, 148, 158, 165.) In the context of

Plaintiff’s 46-page Complaint, this shotgun style of pleading simply cannot be tolerated.

Plaintiff will be afforded an opportunity to replead, and if he chooses to do so, he must

clearly delineate which factual allegations are relevant to each claim and which

defendants are named in each count.

                                      CONCLUSION

       Accordingly, it is hereby ORDERED AND ADJUDGED:

       1.     Plaintiff’s Complaint (Doc. 1) is DISMISSED WITHOUT PREJUDICE.

       2.     On or before January 20, 2017, Plaintiff may file an amended complaint

              that complies in all respects with this Order, the Federal Rules of Civil

              Procedure, and the Court’s Local Rules.

       3.     If Plaintiff does not file an amended complaint in the time prescribed, this

              action may be dismissed without further notice.

DONE AND ORDERED in Chambers in Orlando, Florida, on January 9, 2017.




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Copies:

Counsel of Record




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